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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


 In re:                                        )        Chapter 11
                                               )        Case No. 17-47541-659
 ARMSTRONG ENERGY, INC., et al.,               )
               Debtors.                        )        (Jointly Administered)
                                               )
                                               )        U. S. Bankruptcy Court
                                               )        Thomas F. Eagleton Courthouse
                                               )        111 So. 10th Street, 7th Fl, North Courtroom
                                               )        St. Louis, Missouri 63102
                                               )
                                               )        Hearing Date: February 2, 2018
                                               )        Hearing Time: 11:00 a.m.

    UNITED STATES TRUSTEE'S OBJECTION TO DEBTORS’ SECOND AMENDED
              JOINT CHAPTER 11 PLAN FILED JANUARY 9, 2018

          COMES NOW Daniel J. Casamatta, the Acting United States Trustee for the Eastern

 District of Missouri (the "U.S. Trustee"), by his attorney Leonora S. Long, and, pursuant to

 section 1129 of the Bankruptcy Code (the "Code"), 11 U.S.C. § 1129, hereby objects to the

 Debtors’ Second Amended Joint Chapter 11 Plan, Docket No. 384 (the “Plan”) filed on behalf of

 Armstrong Energy, Inc., et al., and its debtor affiliates (the "Debtors" or “Armstrong”). In

 support thereof, the U.S. Trustee states as follows:

                                 PRELIMINARY STATEMENT

          1.    The Plan does not satisfy Section 1129’s confirmation requirements for two

 reasons. First, the Plan proposes improper non-consensual third party releases in favor of

 numerous non-debtor parties. Second, the Plan inappropriately extends exculpation coverage to

 non-estate fiduciaries.



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        2.      Absent additional evidence or amendments sufficient to satisfy this objection, the

 Court should deny confirmation of the Plan.

                                           JURISDICTION


        3.      Under (i) 28 U.S.C. § 1334, (ii) applicable order(s) of the United States District

  Court for the Eastern District of Missouri issued pursuant to 28 U.S.C. § 157(a), and (iii)

  28 U.S.C. § 157(b)(2), this Court has jurisdiction to hear and determine this objection.

        4.      Pursuant to 28 U.S.C. § 586(a)(3), the U.S. Trustee is charged with administrative

  oversight of the bankruptcy system in this District. Such oversight is part of the U.S. Trustee’s

  overarching responsibility to enforce the laws as written by Congress and interpreted by the

  courts. See United States Trustee v. Columbia Gas Systems, Inc. (In re Columbia Gas Systems,

  Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that the “U.S. Trustee has “public interest

  standing” under 11 U.S.C. § 307 which goes beyond mere pecuniary interest).

        5.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on the

 issues raised in this objection.

                                      FACTUAL BACKGROUND

        6.      On November 1, 2017, the Debtors commenced these Chapter 11 cases. On

 January 9, 2018, the Debtors filed the Second Amended Plan.

        7.       The Plan defines “Released Parties” as:

        “Released parties” means collectively, and in each case in its capacity as such: (a) the
        Debtors and the Post-Effective Date Debtor; (b) the Debtors’ current and former officers
        and directors; (c) the Committee and the Committee Members; (d) the Supporting Senior
        Noteholders; € RRPH; (f) the Senior Notes Trustee; (g) Knight Hawk; (h) Thoroughbred;
        (1) the parties to the Restructuring Support Agreement; (j) NewCo; (k) HoldCo; and (l)
        with respect to each of the foregoing entities in clauses (s) through (k) such entities’
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        predecessors, successors and assigns, subsidiaries, affiliates, managed accounts or funds,
        current or former officers, directors, principals, shareholders, members, partners,
        employees, agents, advisory board members, financial advisors, attorneys, accountants,
        investment bankers, consultants, representatives, management companies, fund advisors
        and other professionals, and such entities’ respective heirs, executors, estates, servants,
        and nominees, in each case, solely in their capacity as such.


 Plan: Article 1, Section A, 109, page 9.

        8.      Holders or claims or interests against the Debtors will give the Released Parties

 the following releases under the Plan:

       Releases by Holders of Claims and Interests.

         Except as otherwise specifically provided in the Plan, for good and valuable
 consideration, including the service of the Released Parties in facilitating the expeditious
 reorganization of the Debtors and the implementation of the restructuring contemplated by
 the Plan, effective as of the Effective Date, the Releasing Parties (regardless of whether a
 Releasing Party is a Released Party) shall be deemed to forever release, waive, and
 discharge the Released Parties of any and all claims, obligations, rights, suits, damages, Causes
 of Action, remedies, and liabilities whatsoever, including any derivative claims asserted on
 behalf of a Debtor, whether known or unknown, foreseen or unforeseen, liquidated or
 unliquidated, contingent or fixed, existing or hereafter arising, in law, at equity, or otherwise,
 whether for tort, contract, violations of federal or state securities laws or otherwise, including
 those that any of the Debtors, the Estates, or their Affiliates would have been legally entitled
 to assert in their own right (whether individually or collectively) or on behalf of the Holder of
 any Claim or Interest, based on or relating to, or in any manner arising from, in whole or in
 part, the Debtors, the Estates, the conduct of the Debtors’ businesses, the Chapter 11 Cases,
 the purchase, sale, or rescission of the purchase or sale of any security of the Debtors, the
 subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
 treated in the Plan, the business or contractual arrangements between any of the Debtors and
 any Released Party, the restructuring of Claims and Interests prior to or in the Chapter 11
 Cases, the negotiation, formulation, or preparation of the Restructuring Support
 Agreement, the Transaction Agreement, Plan, the Plan Supplement, the Disclosure Statement,
 or related agreements, instruments, or other documents, or upon any other act or omission,
 transaction, or occurrence relating to the foregoing taking place on or before the Effective Date.


          Notwithstanding anything to the contrary in the foregoing, the releases set forth above
  do not release any post-Effective Date obligations of any party or Entity under the Plan, the
  Transaction Agreement, or any document, instrument, or agreement (including those set
  forth in the Plan Supplement) executed to implement the Plan.
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          Entry of the Confirmation and Sale Order shall constitute the Bankruptcy Court’s
  approval, pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by
  reference each of the related provisions and definitions contained herein, and further, shall
  constitute the Bankruptcy Court’s finding that the Third-Party Release is: (1) in exchange for
  the good and valuable consideration provided by the Released Parties; (2) a good faith
  settlement and compromise of the claims released by the Releasing Parties; (3) in the best
  interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable and
  reasonable; (5) given and made after notice and opportunity for hearing; and (6) a bar to any of
  the Releasing Parties asserting any Claim released by the Third-Party Release against any of the
  Released Parties.

 Plan: Article X, Section D, page 39-40 (the “General Releases”).

        9.      In addition to the releases, all Released Parties will also receive exculpation:

          Upon and effective as of the Effective Date, the Debtors and their directors,
  officers, employees, attorneys, investment bankers, financial advisors, restructuring
  consultants, and other professional advisors and agents will be deemed to have solicited
  acceptances of the Plan in good faith and in compliance with the applicable provisions of the
  Bankruptcy Code, including section 1125(e) of the Bankruptcy Code.
          Except with respect to any acts or omissions expressly set forth in and preserved by
  the Plan, the Plan Supplement, the Transaction Agreement or related documents, the
  Exculpated Parties shall neither have nor incur any liability to any Entity for any prepetition
  or postpetition act taken or omitted to be taken in connection with, or arising from or relating
  in any way to, the Chapter 11 Cases, including the operation of the Debtors’ businesses during
  the pendency of these Chapter 11 Cases; formulating, negotiating, preparing, disseminating,
  implementing, and/or effecting the Restructuring Support Agreement, the Transaction
  Agreement, the Disclosure Statement, and the Plan (including the Plan Supplement and any
  related contract, instrument, release, or other agreement or document created or entered into
  in connection therewith); the solicitation of votes for the Plan and the pursuit of
  Confirmation and Consummation of the Plan; the administration of the Plan and/or the
  property to be distributed under the Plan; and/or any other prepetition or postpetition act taken
  or omitted to be taken in connection with or in contemplation of the restructuring of the
  Debtors. In all respects, each Exculpated Party shall be entitled to rely upon the advice of
  counsel concerning his, her, or its respective duties under, pursuant to, or in connection with
  the Plan.
         Notwithstanding anything herein to the contrary, nothing in the foregoing
  “Exculpation” shall exculpate any Person or Entity from any liability resulting from any
  act or omission constituting fraud, willful misconduct, gross negligence, criminal conduct,
  malpractice, misuse of confidential information that causes damages, or ultra vires acts as
  determined by a Final Order.

 Plan: Article X, Section D, pages 40-41.

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                                             LAW AND ANALYSIS

          A.       General Standards

          10.      In order to obtain confirmation, a plan proponent has the burden to establish

 compliance with all the requirements of section 1129(a) of the Code. See 11 U.S.C. § 1129(a).

 The plan proponent bears the burden of proof with respect to each and every element of section

 1129(a). See In re Genesis Health Ventures, Inc., 266 B.R. 591 (Bankr. D. Del. 2001).

          B.       The General Releases are overbroad and unlawful

          11.      The Eighth Circuit has not squarely addressed the issue of whether third-party, or

 non-debtor, injunctions and releases are permissible as a matter of law. Such releases are

 altogether forbidden in some jurisdictions. The Ninth and Tenth Circuits categorically prohibit

 third party releases under any circumstances on the grounds that they violate section 524(e),

 which states that “discharge of a debt of the debtor does not affect the liability of any other entity

 on, or the property of any other entity for, such debt.” Resorts Int’l, Inc. v. Lowenschuss (In re

 Lowenschuss), 67 F.3d 1394, 1401 (9th Cir. 1995); In re Western Real Estate Fund, Inc., 922

 F.2d 592, 600 (10th Cir. 1990).

          12.      But even outside of the jurisdictions with categorical prohibitions, releases given

 by non-debtors to other non-debtors in a plan are permissible only in rare and exceptional

 circumstances (such as mass tort cases) in which certain key factors are present. 1 See, e.g., In re

 A.H. Robins Co., Inc., 880 F.2d 694 (4th Cir. 1989) (upholding non-debtor release that enjoined


 1
           As a threshold matter, the Debtors must demonstrate that the Court has subject matter jurisdiction,
 consistent with the Eighth Circuit’s decision in In re McAlpin, 278 F.3d 866 (8th Cir. 2002), to approve releases that
 do not affect claims against the bankruptcy estates or affect the estates’ res. Though McAlpin involved a chapter 13
 debtor who disputed a creditor claim not addressed by his confirmed plan, the Eighth Circuit found that subject
 matter jurisdiction did not exist because the disputed claim was not against the estate “and thus did not involve a
 right created by bankruptcy law or arising only in bankruptcy.” Id. at 868.

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 certain mass tort plaintiffs’ claims against, among others, the debtor’s directors, the debtor’s

 attorneys, and the debtor’s insurer in exchange for financial contributions); see also In re

 Continental Airlines, 203 F.3d 203 (3d Cir. 2000) (rejecting arguments that a permissive view of

 releases confers “unfettered discretion”) (citations omitted). 2

           13.     The case of Deutsche Bank AG v. Metromedia Fiber Network, Inc. (In re

 Metromedia Fiber Network, Inc.), 416 F.3d 136 (2d Cir. 2005), is particularly instructive. In

 Metromedia, the Second Circuit held that non-debtor third-party releases are proper only in “rare

 cases.” Metromedia, 416 F.3d at 141. The Second Circuit articulated at least two reasons for its

 reluctance to approve these releases:

            First, the only explicit authorization in the Code for non-debtor releases is
            11 U.S.C. § 524(g), which authorizes releases in asbestos cases when
            specified conditions are satisfied, including the creation of a trust to satisfy
            future claims, [and] …

            Second, a non-debtor release is a device that lends itself to abuse. By it, a
            nondebtor can shield itself from liability to third parties. In form, it is a
            release; in effect it may operate as a bankruptcy discharge without a filing
            and without the safeguards of the Code.           The potential for abuse is
            heightened when releases afford blanket immunity.

     Id. at 142.

           14.     The Second Circuit held that “[i]n bankruptcy cases, a Court may enjoin a

 creditor from suing a third party, provided the injunction plays an important part in the

 Debtors’ reorganization plan.” Id. at 141 (quoting SEC v. Drexel Burnham Lambert Group,

 Inc. (In re Drexel Burnham Lambert Group, Inc.), 960 F.2d 285, 292 (2d Cir. 1992)). The

 2
          In Continental Airlines, the Third Circuit surveyed cases from various circuits as to when, if ever, a non-
 consensual third party release is permissible. The Third Circuit acknowledged that a number of Circuits do not allow
 such non-consensual releases under any circumstances. See id. at 212. Other Circuits, the Court found, “have
 adopted a more flexible approach, albeit in the context of extraordinary cases,” such as mass tort cases. See id. at
 212 (citations omitted).

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 appellate court cautioned, however, that a non-debtor third-party release is not considered to

 be adequately supported by consideration simply because the non-debtor contributed

 something to the reorganization and the enjoined creditor took something out. Metromedia,

 416 F.3d at 143. Rather, “[a] non-debtor third-party release should not be approved absent a

 finding by the court that ‘truly unusual circumstances’ exist that render the release terms

 important to the success of the plan.” Id.

        15.     Subsequent cases further clarify the Metromedia requirements. For example, in

 In re DBSD North America, Inc., the Court stated:

         As the Second Circuit's decision in Metromedia and my earlier
         decision in Adelphia provide, exculpation provisions (and their first
         cousins, so-called “third party releases”) are permissible under some
         circumstances, but not as a routine matter. They may be used in some
         cases, including those where the provisions are important to a debtor’s plan;
         the claims are “channeled” to a settlement fund rather than extinguished; the
         enjoined claims would indirectly impact the debtor's reorganization by way
         of indemnity or contribution; the released party provides substantial
         contribution; and where the plan otherwise provides for full payment of
         the enjoined claims.

 In re DBSD N. Am., Inc., 419 B.R. 179,217 (Bankr. S.D.N.Y. 2009) (emphasis in original)

 (footnotes omitted); In re Motors Liquidation Co., 477 B.R. 198, 220 (Bankr. S.D.N.Y. 2011)

 (“Although (since the Code is silent on the matter) third-party releases aren’t ‘inconsistent

 with the applicable provisions of this title,’ the Second Circuit has ruled that they’re

 permissible only in rare cases, with appropriate consent or under circumstances that can be

 regarded as unique, some of which the Circuit listed [emphasis added]. But, where those

 circumstances haven’t been shown, third-party releases can't be found to be appropriate.”). See

 also In re SunEdison, Inc., 576 B.R. 453 (Bankr. S.D. N. Y. 2017), wherein the court determined

 the debtors failed to meet their burden of showing the court should approve the release as
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 appropriate based upon unique circumstances of the case.

          16.      The Court should reject all third party non-consensual releases here. The releases

 in this case are exceedingly broad and are completely non-consensual. The only way one can opt

 out of the release is to file an objection to the Plan. Requiring creditors to hire an attorney and

 navigate the challenging process of objecting to a plan is far beyond what this court should allow

 in a case. Through this broad and general release with no redress other than objecting to the plan,

 creditors are in essence giving up their rights to object to a settlement and their treatment in the

 Plan is imposed with undue burden. 3 Despite the fact that this is referred to as a large case, this

 is not a rare mass tort case, or a case of similar nature, where the plan channels tort claims to a

 settlement trust funded by insurance proceeds. And even if the Court considers non-consensual

 releases outside of the mass tort context, there is no specific evidence that each and every release

 beneficiary will provide a substantial contribution to the plan. In particular, extending coverage

 to the Debtors’ officers and directors is particularly inappropriate because those parties are not

 making any monetary contributions to the Plan. See In re Washington Mut., Inc., 442 B.R. 314,

 349-350 (Bankr. D. Del. 2011) (finding “that there is no basis whatsoever for the Debtors to grant

 a release to directors and officers or any professionals of the Debtors, current or former” and that

 “there has been no evidence presented of any ‘substantial contribution’ made to the case by the

 directors, officers, or professionals, justifying releases”)) (citing In re Master Mortg. Inv. Fund,

 Inc., 168 B.R. 930 (Bankr. W.D. Mo. 1994)).

          C.       Exculpation Provided to Improper Parties

 3
   Debtors appear to be attempting to incorporate rule 9019 settlement approval authority into the plan confirmation
 process. This Court should not approve a settlement to which one party has not been given the opportunity to
 consent. The agreement of the debtor and the committee to extinguish the right of a third party against another third
 party certainly should not bind the so-called releasing party.

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        17.    As stated by the Court in In re Washington Mutual, Inc., 442 B.R. 314 (Bankr. D.

 Del. 2011), an “exculpation clause must be limited to the fiduciaries who have served during the

 chapter 11 proceeding: estate professionals, the Committees and their members, and the Debtors’

 directors and officers.” Id. at 350-51 (emphasis added). Other courts have agreed. See In re

 Tribune Company, 464 B.R. 126 (Bankr. D. Del. 2011).

        18.    These conclusions are consistent with In re PWS Holding Corp., 228 F.3d 224,

 246 (3d Cir. 2000). The issue in PWS was whether an official committee of unsecured creditors

 could receive exculpation. As described by Judge Shannon in In re PTL Holdings LLC, 2011

 Bankr. LEXIS 4436 (Bankr. D. Del. Nov. 10, 2011):

                In reaching its conclusion, the PWS court examined § 1103(c) and noted that the
                section “has been interpreted to imply both a fiduciary duty to committee
                constituents and a limited grant of immunity to committee members.” “This
                immunity,” the court found, “covers committee members for actions within the
                scope of their duties.” The PWS court's reasoning thus implies that a party's
                exculpation is based upon its role or status as a fiduciary. That is why, as the
                Washington Mutual court pointed out, courts have permitted exculpation clauses
                insofar as they “merely state[] the standard to which ... estate fiduciaries [a]re held
                in a chapter 11 case.” That fiduciary standard, however, applies only to estate
                fiduciaries, “no one else.” PTL Holdings at * 37-38 (citations omitted).

        19.    Many of the covered parties in the Exculpatory clause of the Plan are not

 fiduciaries if their connection to the estate is directly through any source other than the

 Debtors or the official creditor committees. Unless the Exculpation Provision is amended to

 remove all non-estate fiduciaries, the Plan should not be confirmed.

        WHEREFORE, the U.S. Trustee respectfully requests that this Court sustain his

 objection, issue an order denying confirmation of the Plan consistent with this objection,




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         and/or granting such other relief as this Court deems appropriate, fair and just.

                                               Respectfully submitted,

                                               DANIEL J. CASAMATTA
                                               ACTING UNITED STATES TRUSTEE

                                               PAUL A. RANDOLPH
                                               ASSISTANT UNITED STATES TRUSTEE


                                               By:            /s/ Leonora S. Long
                                                       Leonora S. Long, Trial Attorney
                                                       Missouri Bar #31655, Federal ID #3697
                                                       Office of United States Trustee
                                                       111 S. 10th Street, Room 6353
                                                       St. Louis, MO 63102
                                                       (314) 539-2980 Phone
                                                       (314) 539-2990 Fax
                                                       Leonora.Long@usdoj.gov

                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and foregoing was electronically
 mailed by the U. S. Bankruptcy Court, Eastern District of Missouri, to those names listed on the
 courts electronic list of those to receive service this 24th day of January, 2018 to:


                                                     /s/ Margaret Slaughter
                                               Margaret Slaughter, Paralegal Specialist




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